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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LVMH SWISS MANUFACTURES SA,
                                                  Case No. 19-cv-04383
              Plaintiff,
                                                  Judge Sharon Johnson Coleman
v.
                                                  Magistrate Judge Sunil R. Harjani
AK WATCH CO. LTD STORE, et al.,
              Defendants.


                      PLAINTIFF’S EX PARTE MOTION TO
                 EXTEND THE TEMPORARY RESTRAINING ORDER

       Plaintiff LVMH Swiss Manufactures SA (“TAG Heuer” or “Plaintiff”) seeks to extend the

Temporary Restraining Order granted and entered by the Court on July 9, 2019 [22], by a period

of fourteen (14) days until August 6, 2019. Such application is based upon this Motion and the

concurrently filed Memorandum of Law.

Dated this 18th day of July 2019.          Respectfully submitted,


                                           /s/ Justin R. Gaudio
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